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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

7800 W JEWELL LLC,                                   Civil Action No.: 18-cv-00773-PAB

        Plaintiff,

v.

TRUCK INSURANCE EXCHANGE,

      Defendant.
______________________________________________________________________________

          NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
______________________________________________________________________________

        Plaintiff, 7800 W JEWELL LLC, pursuant to Rule 41(a)(1) of the Federal Rules of Civil

Procedure, hereby files its Notice of Voluntary Dismissal of Action Without Prejudice. Plaintiff

will refile this action in state court.

        WHEREFORE, Plaintiff, 7800 W Jewell LLC, hereby dismisses this action, without

prejudice, each party to bear its own costs.



        Respectfully submitted this 25th day of April, 2018.


                                               /s/ Jonathan E. Bukowski
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